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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF MINNESOTA


Kathryne Preston,                                     File No. 20-cv-1633 (ECT/BRT)

                Plaintiff,

v.                                                       ORDER OF DISMISSAL
                                                          WITH PREJUDICE
Menard, Inc.,

                Defendant.


       Pursuant to the Stipulation of Dismissal with Prejudice [ECF No. 9] entered into by

Plaintiff and Defendant,

       IT IS ORDERED that the above-captioned action is hereby DISMISSED with

prejudice in its entirety with each party to bear its own costs and attorney fees in connection

with such claims.


Dated: October 28, 2020                    s/ Eric C. Tostrud
                                           Eric C. Tostrud
                                           United States District Court
